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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

       In re: WILBANKS, BOBBY MANALCUS                                §    Case No. 10-60990
              WILBANKS, KIMBERLY ANN                                  §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Barbara B. Stalzer, Trustee, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $545,378.00                          Assets Exempt: $23,400.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$10,241.36            Claims Discharged
                                                       Without Payment: $516,874.66

 Total Expenses of Administration:$4,130.35


         3) Total gross receipts of $     14,371.71      (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2  ), yielded net receipts of $14,371.71
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                         $534,846.00         $10,974.88        $10,974.88            $215.25

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00           4,130.35          4,130.35           4,130.35

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00              0.00                  0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00               0.00              0.00                  0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                    632,734.52         511,212.45        511,212.45          10,026.11

                                        $1,167,580.52        $526,317.68       $526,317.68         $14,371.71
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on January 12, 2010.
  The case was pending for 43 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 07/28/2013                 By: /s/Barbara B. Stalzer, Trustee
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                           UNIFORM                                 $ AMOUNT
               DESCRIPTION
                                                                                          TRAN. CODE 1                             RECEIVED
     Preferential payment to roofer                                                       1249-000                                   14,370.79

     Interest Income                                                                      1270-000                                        0.92


    TOTAL GROSS RECEIPTS                                                                                                            $14,371.71

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                           UNIFORM                                 $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                          TRAN. CODE                                  PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                                $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS            CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED             PAID
                                                       CODE                6D)
           1      Georgia's Own Credit Union           4110-000               15,012.00              10,974.88         10,974.88                 215.25

 NOTFILED         Wffinancial                          4110-000             505,834.00            N/A                    N/A                       0.00

 NOTFILED         Georgias Own Cu                      4110-000               14,000.00           N/A                    N/A                       0.00


    TOTAL SECURED CLAIMS                                                   $534,846.00           $10,974.88           $10,974.88             $215.25



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                 CLAIMS                  CLAIMS            CLAIMS
                                                       TRAN.
                                                                      SCHEDULED              ASSERTED                ALLOWED             PAID
                                                       CODE
 Barbara B. Stalzer, Trustee                           2100-000            N/A                        2,187.17          2,187.17            2,187.17

 Barbara B. Stalzer, Trustee                           2200-000            N/A                          117.73            117.73                 117.73




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 Barbara B. Stalzer, Esq.               3110-000          N/A                      767.00       767.00             767.00

 Stonebridge Accounting Strategies      3410-000          N/A                      652.00       652.00             652.00

 Stonebridge Accounting Strategies      3420-000          N/A                       32.75         32.75             32.75

 The Bank of New York Mellon            2600-000          N/A                       13.77         13.77             13.77

 The Bank of New York Mellon            2600-000          N/A                       25.00         25.00             25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00         25.00             25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00         25.00             25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00         25.00             25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00         25.00             25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00         25.00             25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00         25.00             25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00         25.00             25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00         25.00             25.00

 The Bank of New York Mellon            2600-000          N/A                       26.51         26.51             26.51

 The Bank of New York Mellon            2600-000          N/A                       25.00         25.00             25.00

 The Bank of New York Mellon            2600-000          N/A                       28.25         28.25             28.25

 The Bank of New York Mellon            2600-000          N/A                       28.66         28.66             28.66

 The Bank of New York Mellon            2600-000          N/A                       26.51         26.51             26.51

 TOTAL CHAPTER 7 ADMIN. FEES                              N/A                  $4,130.35      $4,130.35          $4,130.35
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                             CLAIMS              CLAIMS             CLAIMS          CLAIMS
                                         TRAN.
                                                     SCHEDULED           ASSERTED           ALLOWED           PAID
                                         CODE
                                                   None

 TOTAL PRIOR CHAPTER ADMIN.                               N/A                       $0.00        $0.00              $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                        UNIFORM       CLAIMS              CLAIMS
   CLAIM                                             SCHEDULED           ASSERTED            CLAIMS          CLAIMS
    NO.           CLAIMANT               TRAN.        (from Form        (from Proofs of     ALLOWED           PAID
                                         CODE             6E)                Claim)
                                                   None

 TOTAL PRIORITY UNSECURED                                       $0.00               $0.00        $0.00              $0.00
 CLAIMS



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EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                          UNIFORM     CLAIMS            CLAIMS
   CLAIM                                             SCHEDULED         ASSERTED            CLAIMS           CLAIMS
    NO.            CLAIMANT                TRAN.     (from Form       (from Proofs of     ALLOWED            PAID
                                           CODE          6F)               Claim)
      2      Wells Fargo Bank, N.A.       7100-000       435,457.83         435,753.49      435,753.49            8,546.18

      3      BB&T-Bankruptcy              7100-000       167,880.06          60,596.06       60,596.06            1,188.44

      4      Chase Bank USA,N.A           7100-000           592.89            1,293.25       1,293.25              25.36

      5      GE Money Bank                7100-000         1,781.42            1,614.51       1,614.51              31.66

      6      Fia Card Services, NA/Bank   7100-000        11,334.00          11,955.14       11,955.14             234.47
             of America
 NOTFILED    Barclays Bank Delaware       7100-000         6,053.00         N/A                 N/A                   0.00

 NOTFILED    Citibank Usa                 7100-000         3,351.00         N/A                 N/A                   0.00

 NOTFILED    Quest Diagostics             7100-000            56.00         N/A                 N/A                   0.00

 NOTFILED    Verint Video Solutions, Inc 7100-000          6,228.32         N/A                 N/A                   0.00

 TOTAL GENERAL UNSECURED                                $632,734.52        $511,212.45     $511,212.45          $10,026.11
 CLAIMS




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                                                                                                                                                                    Exhibit 8


                                                                              Form 1                                                                                Page: 1

                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case Number: 10-60990                                                                 Trustee:        (300060)     Barbara B. Stalzer, Trustee
Case Name:        WILBANKS, BOBBY MANALCUS                                            Filed (f) or Converted (c): 01/12/10 (f)
                  WILBANKS, KIMBERLY ANN                                              §341(a) Meeting Date:        02/08/10
Period Ending: 07/28/13                                                               Claims Bar Date:             09/23/10

                                   1                                  2                          3                      4                 5                     6

                    Asset Description                             Petition/             Estimated Net Value         Property         Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)               Unscheduled        (Value Determined By Trustee,   Abandoned         Received by        Administered (FA)/
                                                                   Values             Less Liens, Exemptions,      OA=§554(a)         the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                              Remaining Assets

 1       943 Lake Stone Lea, Oxford, Ga 5000 sq ft single            500,000.00                          0.00                                    0.00                   FA
           Orig. Asset Memo: Imported from original petition
         Doc# 1

 2       4 televisions, furniture: living room and 3 bedr              5,200.00                          0.00                                    0.00                   FA
           Orig. Asset Memo: Imported from Amended Doc#:
         16; Original asset description: Opened 3/01/08 Last
         Active 9/23/09 Mortgage 943 Lake Stone Lea Drive
         Oxford, Ga 5000 sq ft single; Imported from Amended
         Doc#: 16; Original asset description: 2002 Sandpiper
         38 foot pull-behind travel traile

 3       500 cds, pictures and books                                      500.00                         0.00                                    0.00                   FA
           Orig. Asset Memo: Imported from Amended Doc#:
         16; Original asset description: Opened 3/01/08 Last
         Active 9/23/09 Mortgage 943 Lake Stone Lea Drive
         Oxford, Ga 5000 sq ft single; Imported from Amended
         Doc#: 16; Original asset description: 2002 Sandpiper
         38 foot pull-behind travel traile

 4       Clothing for the family                                       1,000.00                          0.00                                    0.00                   FA
           Orig. Asset Memo: Imported from Amended Doc#:
         16; Original asset description: Opened 3/01/08 Last
         Active 9/23/09 Mortgage 943 Lake Stone Lea Drive
         Oxford, Ga 5000 sq ft single; Imported from Amended
         Doc#: 16; Original asset description: 2002 Sandpiper
         38 foot pull-behind travel traile

 5       2008 Tax Refund                                              11,618.00                      4,143.00                                    0.00                   FA
           Orig. Asset Memo: Imported from Amended Doc#:
         16; Original asset description: Opened 3/01/08 Last
         Active 9/23/09 Mortgage 943 Lake Stone Lea Drive
         Oxford, Ga 5000 sq ft single; Imported from Amended
         Doc#: 16; Original asset description: 2002 Sandpiper
         38 foot pull-behind travel traile (See Footnote)

 6       2005 Ford Expedition XLJ Mileage: 83000 miles in              9,225.00                          0.00                                    0.00                   FA
           Orig. Asset Memo: Imported from original petition
         Doc# 1

 7       2002 Sandpiper 38 foot pull-behind travel traile             17,835.00                      2,823.00                                    0.00                   FA
           Orig. Asset Memo: Imported from Amended Doc#:


                                                                                                                                    Printed: 07/28/2013 01:20 PM     V.13.13
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                                                                                    Form 1                                                                                        Page: 2

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 10-60990                                                                        Trustee:         (300060)        Barbara B. Stalzer, Trustee
Case Name:          WILBANKS, BOBBY MANALCUS                                                 Filed (f) or Converted (c): 01/12/10 (f)
                    WILBANKS, KIMBERLY ANN                                                   §341(a) Meeting Date:            02/08/10
Period Ending: 07/28/13                                                                      Claims Bar Date:                 09/23/10

                                 1                                           2                            3                         4                    5                    6

                      Asset Description                                 Petition/             Estimated Net Value              Property            Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)                   Unscheduled        (Value Determined By Trustee,        Abandoned            Received by        Administered (FA)/
                                                                         Values             Less Liens, Exemptions,           OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                          and Other Costs)                                                      Remaining Assets

           16; Original asset description: Opened 3/01/08 Last
           Active 9/23/09 Mortgage 943 Lake Stone Lea Drive
           Oxford, Ga 5000 sq ft single

 8         Preferential payment to roofer (u) (See Footnote)                14,370.79                      14,370.79                                     14,370.79                    FA

 Int       INTEREST (u)                                                      Unknown                              N/A                                         0.92                    FA

 9        Assets      Totals (Excluding unknown values)                  $559,748.79                      $21,336.79                                   $14,371.71                  $0.00


       RE PROP# 5         Debtors used tax refund to pay roofer (preferentially). Debtors are paying estate $500.00 per month
                         pursuant to a compromise and settlement.
       RE PROP# 8         Trustee has received all funds for the preference and is preparing to file the closing package



       Major Activities Affecting Case Closing:

                   Trustee has collected all funds from debtors for the preference paid to the roofer. Trustee will prepare the closing package for submission to the UST.

       Initial Projected Date Of Final Report (TFR):       October 31, 2012                     Current Projected Date Of Final Report (TFR):         November 28, 2012 (Actual)




                                                                                                                                                  Printed: 07/28/2013 01:20 PM     V.13.13
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                                                                                     Form 2                                                                                       Page: 1

                                                  Cash Receipts And Disbursements Record
Case Number:         10-60990                                                                        Trustee:            Barbara B. Stalzer, Trustee (300060)
Case Name:           WILBANKS, BOBBY MANALCUS                                                        Bank Name:          The Bank of New York Mellon
                     WILBANKS, KIMBERLY ANN                                                          Account:            9200-******06-65 - Checking Account
Taxpayer ID #: **-***0748                                                                            Blanket Bond:       $82,585,000.00 (per case limit)
Period Ending: 07/28/13                                                                              Separate Bond: N/A

   1            2                          3                                           4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                T-Code              $                   $       Account Balance
06/23/10       {8}        Bobby M. Wilbanks                  Acct #1; Payment #0; Per agreement with            1249-000              1,000.00                                   1,000.00
                                                             Debtor to repay money to roofer paid
                                                             preferentially
07/22/10       {8}        Bobby and Kimberly Wilbanks        Installment payment for preferential payment to 1249-000                    500.00                                  1,500.00
                                                             roofer
07/30/10       Int        The Bank of New York Mellon        Interest posting at 0.0700%                        1270-000                   0.07                                  1,500.07
08/19/10       {8}        Bobby and Kimberly Wilbanks        Acct #1; Payment #1; Installment payment for       1249-000                 500.00                                  2,000.07
                                                             preference payment to roofer
08/31/10       Int        The Bank of New York Mellon        Interest posting at 0.0700%                        1270-000                   0.09                                  2,000.16
09/22/10       {8}        Bobby M. and Kimberly wilbanks     Acct #1; Payment #2; Installment per               1249-000                 500.00                                  2,500.16
                                                             agreement with Debtor
09/30/10       Int        The Bank of New York Mellon        Interest posting at 0.0100%                        1270-000                   0.01                                  2,500.17
10/20/10       {8}        Kimberly Wilbanks                  Acct #1; Payment #3; Installment payment on        1249-000                 500.00                                  3,000.17
                                                             preference payment to roofer per agreement
10/29/10       Int        The Bank of New York Mellon        Interest posting at 0.0100%                        1270-000                   0.02                                  3,000.19
11/22/10       {8}        Kimberly A. Wilbanks               Acct #1; Payment #4; Monthly Installment           1249-000                 500.00                                  3,500.19
                                                             payment per agreement and court order
11/30/10       Int        The Bank of New York Mellon        Interest posting at 0.0100%                        1270-000                   0.02                                  3,500.21
12/17/10       {8}        Bobby M. wilbanks                  Acct #1; Payment #5; Installment payment on        1249-000                 500.00                                  4,000.21
                                                             preferential transfer to roofing co.
12/31/10       Int        The Bank of New York Mellon        Interest posting at 0.0100%                        1270-000                   0.02                                  4,000.23
01/21/11       {8}        Kimberly Wilbanks                  Acct #1; Payment #6; Installment payment on        1249-000                 500.00                                  4,500.23
                                                             preference to roofer
01/31/11       Int        The Bank of New York Mellon        Interest posting at 0.0100%                        1270-000                   0.02                                  4,500.25
02/24/11       {8}        Kimberly A. Wilbanks               Acct #1; Payment #7; Monthly installment for       1249-000                 500.00                                  5,000.25
                                                             money paid preferentially to roofer
02/28/11       Int        The Bank of New York Mellon        Interest posting at 0.0100%                        1270-000                   0.03                                  5,000.28
03/23/11       {8}        Kimberly Wilbanks                  Acct #1; Payment #8; Montly installment on         1249-000                 500.00                                  5,500.28
                                                             preference to roofer
03/31/11       Int        The Bank of New York Mellon        Interest posting at 0.0100%                        1270-000                   0.04                                  5,500.32
04/21/11       {8}        Bobby Wilbanks                     Acct #1; Payment #9; INstallment payment on        1249-000                 500.00                                  6,000.32
                                                             preference to roofer
04/29/11       Int        The Bank of New York Mellon        Interest posting at 0.0100%                        1270-000                   0.04                                  6,000.36
05/20/11       {8}        Kimberly Wilbanks                  Acct #1; Payment #10; Monthly installment on       1249-000                 500.00                                  6,500.36
                                                             roofer preference payment
05/31/11       Int        The Bank of New York Mellon        Interest posting at 0.0100%                        1270-000                   0.05                                  6,500.41
06/20/11       {8}        Kimberly A. Wilbanks               Acct #1; Payment #11; Monthly installmentn on 1249-000                      500.00                                  7,000.41
                                                             preference payment to roofer

                                                                                                     Subtotals :                     $7,000.41                 $0.00
{} Asset reference(s)                                                                                                                         Printed: 07/28/2013 01:20 PM        V.13.13
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                                                                                 Form 2                                                                                         Page: 2

                                                  Cash Receipts And Disbursements Record
Case Number:         10-60990                                                                      Trustee:            Barbara B. Stalzer, Trustee (300060)
Case Name:           WILBANKS, BOBBY MANALCUS                                                      Bank Name:          The Bank of New York Mellon
                     WILBANKS, KIMBERLY ANN                                                        Account:            9200-******06-65 - Checking Account
Taxpayer ID #: **-***0748                                                                          Blanket Bond:       $82,585,000.00 (per case limit)
Period Ending: 07/28/13                                                                            Separate Bond: N/A

   1            2                          3                                      4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From               Description of Transaction                 T-Code              $                   $       Account Balance
06/30/11       Int        The Bank of New York Mellon     Interest posting at 0.0100%                         1270-000                   0.05                                  7,000.46
07/18/11       {8}        Kimberly Wilbanks               Acct #1; Payment #12; Monthly installment on        1249-000                 500.00                                  7,500.46
                                                          preference payment to roofer
07/29/11       Int        The Bank of New York Mellon     Interest posting at 0.0100%                         1270-000                   0.06                                  7,500.52
08/01/11                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         13.77           7,486.75
08/17/11       {8}        Kimberly Wilbanks               Acct #1; Payment #13; Installment payment on        1249-000                 500.00                                  7,986.75
                                                          preference to roofer
08/31/11       Int        The Bank of New York Mellon     Interest posting at 0.0100%                         1270-000                   0.06                                  7,986.81
08/31/11                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         25.00           7,961.81
09/15/11       {8}        Kimberly Wilbanks               Acct #1; Payment #14; Monthly installment           1249-000                 500.00                                  8,461.81
                                                          payment
09/30/11       Int        The Bank of New York Mellon     Interest posting at 0.0100%                         1270-000                   0.06                                  8,461.87
09/30/11                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         25.00           8,436.87
10/17/11       {8}        Kimberly Wilbanks               Acct #1; Payment #15; Installment payment for       1249-000                 500.00                                  8,936.87
                                                          preference to roofer
10/31/11       Int        The Bank of New York Mellon     Interest posting at 0.0100%                         1270-000                   0.06                                  8,936.93
10/31/11                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         25.00           8,911.93
11/21/11       {8}        Kimberly Wilbanks               Acct #1; Payment #16; Monthly installment on        1249-000                 500.00                                  9,411.93
                                                          preference to roofer
11/30/11       Int        The Bank of New York Mellon     Interest posting at 0.0100%                         1270-000                   0.07                                  9,412.00
11/30/11                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         25.00           9,387.00
12/21/11       {8}        Bobby and Kimberly Wilbanks     Acct #1; Payment #17; installment payment on        1249-000                 500.00                                  9,887.00
                                                          preference to roofer
12/30/11       Int        The Bank of New York Mellon     Interest posting at 0.0100%                         1270-000                   0.07                                  9,887.07
12/30/11                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         25.00           9,862.07
01/06/12       {8}        Kimberly Wilbanks               Acct #1; Payment #18; Installment payment on        1249-000                 500.00                              10,362.07
                                                          preference to roofer paid out of tax refund
01/17/12       Int        The Bank of New York Mellon     Interest posting at 0.0100%                         1270-000                   0.04                              10,362.11
01/31/12       Int        The Bank of New York Mellon     Interest posting at 0.0100%                         1270-000                   0.04                              10,362.15
01/31/12                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         25.00       10,337.15
02/22/12       {8}        Bobby Wilbanks                  Acct #1; Payment #19; Montly installment            1249-000                 500.00                              10,837.15
                                                          payment to pay off preference payment to
                                                          roofer
02/29/12                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         25.00       10,812.15
03/09/12       {8}        Kimberly Wilbanks               Acct #1; Payment #20; Monthly installment to        1249-000                 500.00                              11,312.15
                                                          pay preference to roofer
03/30/12                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         25.00       11,287.15
04/25/12       {8}        Kimberly Wilbanks               Acct #1; Payment #21; Montly installment to         1249-000                 500.00                              11,787.15
                                                                                                    Subtotals :                    $5,000.51                 $213.77
{} Asset reference(s)                                                                                                                       Printed: 07/28/2013 01:20 PM        V.13.13
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                                                  Cash Receipts And Disbursements Record
Case Number:         10-60990                                                                      Trustee:            Barbara B. Stalzer, Trustee (300060)
Case Name:           WILBANKS, BOBBY MANALCUS                                                      Bank Name:          The Bank of New York Mellon
                     WILBANKS, KIMBERLY ANN                                                        Account:            9200-******06-65 - Checking Account
Taxpayer ID #: **-***0748                                                                          Blanket Bond:       $82,585,000.00 (per case limit)
Period Ending: 07/28/13                                                                            Separate Bond: N/A

   1            2                          3                                        4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                  T-Code              $                   $       Account Balance
                                                          pay roofer preference
04/30/12                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         25.00       11,762.15
05/31/12       {8}        Bobby M. Wilbanks               Acct #1; Payment #22; For monthly payment           1249-000                 500.00                              12,262.15
                                                          for roofer preference
05/31/12                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         26.51       12,235.64
06/11/12       {8}        Bobby Wilbanks                  Acct #1; Payment #23; Payment for preference        1249-000                 500.00                              12,735.64
                                                          to roofer
06/29/12                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         25.00       12,710.64
07/15/12       {8}        Bobby Wilbanks                  Acct #1; Payment #24; Roofer preference--           1249-000                 500.00                              13,210.64
                                                          monthly installment
07/31/12                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         28.25       13,182.39
08/08/12       {8}        Kimberly Wilbanks               Acct #1; Payment #25; Monthly installment on        1249-000                 500.00                              13,682.39
                                                          repayment of preference to roofer
08/31/12                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         28.66       13,653.73
09/11/12       {8}        Bobby Wilbanks                  Acct #1; Payment #26; Payoff of roofer              1249-000                 370.79                              14,024.52
                                                          preference claim by Debtors
09/28/12                  The Bank of New York Mellon     Bank and Technology Services Fee                    2600-000                                         26.51       13,998.01
01/03/13                  RABOBANK MIGRATION              TRANSFER TO 0001030006088                           9999-000                                   13,998.01                0.00
                          TRANSFER OUT                    20130103

                                                                                  ACCOUNT TOTALS                                   14,371.71             14,371.71               $0.00
                                                                                        Less: Bank Transfers                             0.00            13,998.01
                                                                                  Subtotal                                         14,371.71                  373.70
                                                                                        Less: Payments to Debtors                                               0.00
                                                                                  NET Receipts / Disbursements                   $14,371.71                  $373.70




{} Asset reference(s)                                                                                                                       Printed: 07/28/2013 01:20 PM        V.13.13
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                                                    Cash Receipts And Disbursements Record
Case Number:        10-60990                                                                          Trustee:            Barbara B. Stalzer, Trustee (300060)
Case Name:          WILBANKS, BOBBY MANALCUS                                                          Bank Name:          Rabobank, N.A.
                    WILBANKS, KIMBERLY ANN                                                            Account:            ****691165 - Checking Account
Taxpayer ID #: **-***0748                                                                             Blanket Bond:       $82,585,000.00 (per case limit)
Period Ending: 07/28/13                                                                               Separate Bond: N/A

   1            2                          3                                        4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                  T-Code              $                   $       Account Balance
01/04/13                 RABOBANK MIGRATION                  RABOBANK MIGRATION                                  9999-000             13,998.01                               13,998.01
                         TRANSFER IN
01/08/13     11001       Barbara B. Stalzer, Trustee         Dividend paid 100.00% on $2,187.17, Trustee         2100-000                                    2,187.17         11,810.84
                                                             Compensation; Reference:
01/08/13     11002       Barbara B. Stalzer, Trustee         Dividend paid 100.00% on $117.73, Trustee           2200-000                                       117.73        11,693.11
                                                             Expenses; Reference:
01/08/13     11003       Stonebridge Accounting Strategies   Dividend paid 100.00% on $652.00,                   3410-000                                       652.00        11,041.11
                                                             Accountant for Trustee Fees (Other Firm);
                                                             Reference:
01/08/13     11004       Stonebridge Accounting Strategies   Dividend paid 100.00% on $32.75, Accountant         3420-000                                        32.75        11,008.36
                                                             for Trustee Expenses (Other Firm); Reference:
01/08/13     11005       Barbara B. Stalzer, Esq.            Dividend paid 100.00% on $767.00, Attorney          3110-000                                       767.00        10,241.36
                                                             for Trustee Fees (Trustee Firm); Reference:
01/08/13     11006       Georgia's Own Credit Union          Dividend paid 1.96% on $10,974.88; Claim#           4110-000                                       215.25        10,026.11
                                                             1; Filed: $10,974.88; Reference:
01/08/13     11007       Wells Fargo Bank, N.A.              Dividend paid 1.96% on $435,753.49; Claim#          7100-000                                    8,546.18             1,479.93
                                                             2; Filed: $435,753.49; Reference:
01/08/13     11008       BB&T-Bankruptcy                     Dividend paid 1.96% on $60,596.06; Claim#           7100-000                                    1,188.44              291.49
                                                             3; Filed: $60,596.06; Reference:
01/08/13     11009       Chase Bank USA,N.A                  Dividend paid 1.96% on $1,293.25; Claim# 4;         7100-000                                        25.36             266.13
                                                             Filed: $1,293.25; Reference:
01/08/13     11010       GE Money Bank                       Dividend paid 1.96% on $1,614.51; Claim# 5;         7100-000                                        31.66             234.47
                                                             Filed: $1,614.51; Reference:
01/08/13     11011       Fia Card Services, NA/Bank of       Dividend paid 1.96% on $11,955.14; Claim#           7100-000                                       234.47                0.00
                         America                             6; Filed: $11,955.14; Reference:

                                                                                  ACCOUNT TOTALS                                      13,998.01             13,998.01               $0.00
                                                                                            Less: Bank Transfers                      13,998.01                   0.00
                                                                                  Subtotal                                                  0.00            13,998.01
                                                                                            Less: Payments to Debtors                                             0.00
                                                                                  NET Receipts / Disbursements                             $0.00          $13,998.01




{} Asset reference(s)                                                                                                                          Printed: 07/28/2013 01:20 PM        V.13.13
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                                                 Cash Receipts And Disbursements Record
Case Number:        10-60990                                                                 Trustee:            Barbara B. Stalzer, Trustee (300060)
Case Name:          WILBANKS, BOBBY MANALCUS                                                 Bank Name:          Rabobank, N.A.
                    WILBANKS, KIMBERLY ANN                                                   Account:            ****691165 - Checking Account
Taxpayer ID #: **-***0748                                                                    Blanket Bond:       $82,585,000.00 (per case limit)
Period Ending: 07/28/13                                                                      Separate Bond: N/A

   1            2                         3                                   4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                    Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From              Description of Transaction              T-Code              $                  $       Account Balance

                               Net Receipts :       14,371.71
                                                ————————                                                                       Net             Net                   Account
                                 Net Estate :      $14,371.71               TOTAL - ALL ACCOUNTS                             Receipts     Disbursements              Balances

                                                                            Checking # 9200-******06-65                      14,371.71                 373.70               0.00
                                                                            Checking # ****691165                                 0.00             13,998.01                0.00

                                                                                                                           $14,371.71            $14,371.71                $0.00




{} Asset reference(s)                                                                                                                 Printed: 07/28/2013 01:20 PM        V.13.13
